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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       Crim. No. 07cr10283-RGS
                                              )
TIMOTHY J. SILVIA,                            )
                                              )
               Defendant.                     )

           MOTION TO DISMISS PETITION FOR LACK OF JURISDICTION

       Defendant Timothy Silvia has filed a petition pursuant to 28 U.S.C. § 2255 seeking to

challenge his prior sentence of 262 months by relying on the Supreme Court decision in Borden

v. United States, 141 S.Ct. 1817 (2021). See Doc. No. 181. Defendant’s petition should be

dismissed because the Court does not have jurisdiction over the petition.

       Defendant concedes in his petition that he has filed at least one prior petition pursuant 28

U.S.C. § 2255. See Def. Pet. at pp. 3-4. 1 Thus, this is a second or successive petition by

Defendant. “A federal prisoner seeking to file a second or successive § 2255 petition must first

obtain authorization from the court of appeals to do so.” Bucci v. U.S., 809 F.3d 23, 25 (1st Cir.

2015); Ellis v. United States, 446 F.Supp.2d 1, 3 (D.Mass. 2006) (“‘[b[efore a second or

successive application … is filed in the district court, the applicant shall move in the appropriate

court of appeals for an order authorizing the district court to consider the application.’” )

(citation omitted); see also United States v. Filpo, 2019 WL 12070283 at *2 (D.Mass. Sept. 9,


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 In his petition, Defendant notes one prior § 2255 petition filed in 2012. See Doc. No. 142. The
2012 petition was dismissed as untimely by this Court. See Doc. No. 147. Another § 2255
petition was filed in 2016 in which counsel for Defendant noted that it was a second or
successive petition that would need authorization from the Court of Appeals. See Doc. No. 162.
No authorization was granted for that petition.

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2019) (“Under 28 U.S.C. § 2255(h), a district court cannot entertain such a second or successive

petition unless it is first certified by a panel of the appropriate court of appeals”). Based upon a

review of the docket, Defendant has not sought or received certification from the Court of

Appeals for this petition. “These requirements ‘strip[] the district court of jurisdiction over a

second or successive petition unless and until the court of appeals has decreed that it may go

forward.’” Ellis, 446 F.Supp.2d at 3 (quoting Pratt v. United States, 129 F.3d 54, 57 (1st Cir.

1997)); see also Claudio-Pantojas v. United States, 2020 WL 6385973 at *1 (1st Cir. 2020) (“The

instant motion for relief pursuant to 28 U.S.C. § 2255 is the petitioner’s second such motion.

Accordingly, the district court lacked jurisdiction to rule on it.”). Thus, this Court lacks

jurisdiction over the Defendant’s petition. See Bucci, 809 F.3d at 26.

       “[I]t is well-settled in this circuit that a district court faced with an unapproved second or

successive petition may either ‘dismiss it … or transfer it to the appropriate court of appeals.’”

Ellis, 446 F.Supp.2d at 3 (citation omitted). “[A] transfer for lack of jurisdiction may be

accomplished ‘if it is in the interest of justice.’” Id. (citation omitted); Bucci, 809 F.3d at 26.

Defendant has not, and cannot, establish the legal basis for authorization for a successive

petition. “Such authorization is available only when the second or successive petition is based

either on (1) newly developed evidence that would establish innocence or (2) a new rule of

constitutional law made retroactive on collateral review by the Supreme Court. 28 U.S.C. §

2255(h).” Bucci, 809 F.3d at 26. Defendant does not claim any newly developed evidence as to

his innocence. As to the second ground, the Fifth Circuit recently found that “Borden does not

provide a basis on which [the defendant] may obtain authorization under § 2255(h)(2) because it

did not announce a new rule of constitutional law, but instead addressed a question of statutory


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construction.” In re Rodriguez, 18 F.4th 841, 841-42 (5th Cir. 2021); see also McCoy v. United

States, 2021 WL 5179138 at *2 (D.Utah Nov. 11, 2021) (“Petitioner’s reliance on Borden fails

because it did not announce a ‘new rule of constitutional law.’ Instead, Borden concerned the

interpretation of a statute … Therefore, it is not in the interests of justice to transfer Petitioner’s

Motion and it will be dismissed without prejudice.”); United States v. Myers, 2021 WL 5496850

at *3 (N.D.Okl. Nov. 23, 2021) (“the Supreme Court did not expressly make Borden

retroactively applicable to cases on collateral review, and this Court finds that Borden did not

articulate a new rule of constitutional law; rather Borden clarified a statutory interpretation

issue”) (dismissing motion).

        This Court lacks jurisdiction over Defendant’s petition and the petition should be

dismissed. The government requests the opportunity to respond more fully to the merits of the

petition if the Court does not grant this Motion to Dismiss for Lack of Jurisdiction.

                                                         Respectfully submitted,

                                                         RACHEL S. ROLLINS
                                                         United States Attorney

 Date: March 25, 2022                               By: /s/ Michael Crowley
                                                        MICHAEL CROWLEY
                                                        Assistant U.S. Attorney




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                                CERTIFICATE OF SERVICE

        I, Michael J. Crowley, Assistant United States Attorney, do hereby certify that this
document, filed through ECF system will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF) and that paper copies will be sent to those
indicated as non-registered participants on this date.

                                                     /s/ Michael J. Crowley
                                                     MICHAEL J. CROWLEY
                                                     Assistant U.S. Attorney




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